OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:03CR00036-001
                  W ILLIAM JUNIOR JACOBS                               )   USM No: 11427-058
Date of Previous Judgment: 10/27/2004                                  )   Tanzania Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)
                                                                       )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

                                                  the Director of the Bureau of
       Upon motion of  the defendant  Prisons                                       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 180 (Ct. 1 only) months is reduced to 146 (Ct. 1 only)        .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    37                 Amended Offense Level:                                       35
Criminal History Category: VI                 Criminal History Category:                                   VI
Previous Guideline Range: 420* to life months Amended Guideline Range:                                     352*      to 425* months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   *The guideline range includes the 60 month consecutive sentence for a conviction of 18 U.S.C. §
                     924(c).




III. ADDITIONAL COMMENTS
**The defendant is serving a concurrent sentence of 180 months on Count Twelve for violations of 18 U.S.C. §§ 922(g)
and 924(e) as well as a 60 month consecutive sentence in Count Eleven for a violation of 18 U.S.C. § 924 (c). His total
term of imprisonment of 240 months, therefore, will ultimately remain unchanged by Amendment 706.


Except as provided above, all provisions of the judgment dated 10/27/2004                         shall remain in effect.
IT IS SO ORDERED.

Order Date:        July 27, 2009


Effective Date:
                     (if different from order date)


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